                                                                Case 2:19-cv-02070-JAD-BNW Document 46 Filed 12/02/21 Page 1 of 2



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                                                            2
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                                                                 Attorney for Defendant,
                                                            6
                                                                 NP Santa Fe LLC
                                                            7
                                                                                       UNITED STATES DISTRICT COURT
                                                            8
                                                                                              DISTRICT OF NEVADA
                                                            9
                                                                 MARYJANE DORSEY, an individual;           )      Case No. 2:19-cv-02070-JAD-BNW
                                                           10                                              )
                                                                                        Plaintiff,         )      STIPULATION AND ORDER TO
                                                           11                                              )      EXTEND TIME TO FILE
                                                                 vs.                                       )      SUMMARY JUDGMENT REPLY
FISHER & PHILLIPS LLP




                                                           12
                        300 S. Fourth Street, Suite 1500




                                                                                                           )             (Second Request)
                          Las Vegas, Nevada 89101




                                                           13    NP SANTA FE LLC, d/b/a SANTA FE           )
                                                                 STATION HOTEL & CASINO, a Domestic )
                                                           14    Limited-Liability Company; DOES I through )
                                                                 X, inclusive; ROE CORPORATIONS I          )               ECF No. 45
                                                           15    through X, inclusive,                     )
                                                                                                           )
                                                           16
                                                                                       Defendant.          )
                                                           17    ____________________________________ )

                                                           18            IT IS HEREBY STIPULATED AND AGREED by and between the parties’
                                                           19    counsel of record that Defendant will have up to and including December 13, 2021 to
                                                           20    file a reply to Plaintiff’s Opposition to Defendant NP Santa Fe’s Motion for Summary
                                                           21    Judgment (ECF No. 40). The Motion for Summary Judgment (ECF No. 25) was filed
                                                           22    April 30, 2021. This is the second request for an extension of time regarding a reply
                                                           23    brief. Additional time is needed primarily due to the holidays, including in-house
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                                                            1    counsel being unavailable to review any final draft of the reply due to a vacation.
                                                            2     HOLMAN LAW OFFICE                            FISHER & PHILLIPS LLP
                                                            3

                                                            4     By: /s/ Kristina S. Holman, Esq.             By: /s/ Scott M. Mahoney, Esq.
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                                                            6        Las Vegas, NV 89123                          Las Vegas, Nevada 89101
                                                                     Attorneys for Plaintiff                      Attorneys for Defendant
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                                                            9                                          IT IS SO ORDERED:

                                                           10                                          ____________________________________
                                                                                                       UNITED STATES DISTRICT JUDGE
                                                           11
                                                                                                               12-2-2021
FISHER & PHILLIPS LLP




                                                           12                                          Dated:______________________________
                        300 S. Fourth Street, Suite 1500
                          Las Vegas, Nevada 89101




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